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                                                                                    7 Attorneys for Defendant
                                                                                      JARRYD HAYNE
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                                                                                    9                                 UNITED STATES DISTRICT COURT
                                                                                   10                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
BAUTE CROCHETIERE HARTLEY & VELKEI LLP




                                                                                   11 J.V.,                                         Case No.: 18-CV-01397-NC
                                         Tel (213) 630-5000 • Fax (213) 683-1225




                                                                                   12
                                           777 South Figueroa Street, Suite 3800




                                                                                                         Plaintiff,                 Complaint Filed: December 19, 2017
                                                  Los Angeles, CA 90017




                                                                                   13
                                                                                                   v.                               DEFENDANT JARRYD HAYNE’S
                                                                                   14                                               RESPONSE TO PLAINTIFF J.V.’S
                                                                                        JARRYD HAYNE,                               DISCOVERY LETTER BRIEF
                                                                                   15
                                                                                                         Defendant.
                                                                                   16
                                                                                                                                    Judge:    Hon. Lucy H. Koh
                                                                                   17                                               Place:    Courtroom 8

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                                                                                        286009.1                              1                        Case No. 18-CV-01397-NC
                                                                                           DEFENDANT JARRYD HAYNE’S RESPONSE TO PLAINTIFF J.V.’S DISCOVERY LETTER BRIEF
                                                                                            Case 5:18-cv-01397-LHK Document 42 Filed 05/24/19 Page 2 of 5



                                                                                    1              Plaintiff’s letter brief requests Court intervention, under FRE 415, compelling a limited

                                                                                    2 production of records associated with 1) an investigation in Australia in which no charges have been

                                                                                    3 filed, and 2) a prior non-sexual incident at a nightclub in 2006. Plaintiff’s request should be denied

                                                                                    4 for at least five reasons.

                                                                                    5              First, the alleged 2006 night club incident is irrelevant, not sexual in nature, occurred over 13

                                                                                    6 years ago, and is unrelated to any communications or contact with law enforcement. Under FRE

                                                                                    7 413(d), the term “offense of sexual assault” is defined as “a crime under Federal law or the law of a

                                                                                    8 State ... that involved—(1) any conduct proscribed by chapter 109A of Title 18 U.S.C.; (2) contact,

                                                                                    9 without consent, between any part of the defendant's body or an object and the genitals or anus of

                                                                                   10 another person; (3) contact, without consent, between the genitals or anus of the defendant and any
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                                                                                   11 part of another person's body; (4) deriving sexual pleasure or gratification from the infliction of death,
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                                                                                   12 bodily injury, or physical pain on another person; or (5) an attempt or conspiracy to engage in conduct
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                                                  Los Angeles, CA 90017




                                                                                   13 described in paragraphs (1)–(4).” The incident is clearly not sexual in nature both under a laymen

                                                                                   14 understanding and the statute’s express definition1, and so much time has elapsed since the alleged

                                                                                   15 incident occurred – nearly 13 years – that it has no probative value in this lawsuit. Finally, that

                                                                                   16 incident was never criminally investigated or charged, and is unrelated to law enforcement or any law

                                                                                   17 enforcement agencies in America or Australia.2

                                                                                   18              Second, Plaintiff’s request is untimely under the Court’s Case Management Order which set a
                                                                                   19 May 15, 2019 discovery cutoff. The parties jointly requested more time to conduct discovery and that

                                                                                   20 request was denied by the Court. Plaintiff’s discovery request clearly relates only to alleged

                                                                                   21 “conduct” investigated by the San Jose Police Department, not unrelated matters investigated by the

                                                                                   22
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                                                                                   23   See, e.g., Johnson v. Elk Lake School Dist. (3d Cir. 2002) 283 F.3d 138, 149 (holding that district
                                                                                      court did not abuse its discretion in not allowing evidence of a prior incident in which the
                                                                                   24 counselor allegedly touched the crotch of a female school employee while lifting her onto his
                                                                                      shoulders because it did not meet the definition of “sexual assault” under FRE 413.)
                                                                                   25
                                                                                      2
                                                                                        Plaintiff’s document request number 11 specifically asked for “All emails, social media
                                                                                   26 messages, text messages, phone messages, and any other ESI, documents or communications in
                                                                                      any form whatsoever referring to or relating to any interactions You have had with any law
                                                                                   27
                                                                                      enforcement agencies, including but not limited to the San Jose Police Department, regarding any
                                                                                   28 investigation of Your conduct.” (Emphasis added).

                                                                                        286009.1                               2                        Case No. 18-CV-01397-NC
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                                                                                    1 Australian authorities. Accordingly, because fact discovery has now closed, Plaintiff has waived her

                                                                                    2 right to seek discovery into Defendant’s alleged prior acts of sexual violence against women.

                                                                                    3              Third, the evidence sought is both inadmissible and undiscoverable under FRE 403. FRE 415

                                                                                    4 creates a very limited exception, in certain cases involving sexual assault or child molestation, to FRE

                                                                                    5 404(b)’s general bar against propensity evidence. See Frank v. County of Hudson (D.N.J. 1996) 924

                                                                                    6 F.Supp. 620, 626 (holding that FRE 403 balancing test is conducted to determine whether prior bad

                                                                                    7 acts are discoverable). There is heightened risk of prejudice, where, as here, the “other act” is merely

                                                                                    8 a baseless allegation with no conviction and otherwise no basis to conclude that Defendant is guilty of

                                                                                    9 the alleged conduct.3 The investigation in Australia is ongoing, Defendant vehemently denies the

                                                                                   10 allegations and nothing has been adjudicated.
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                                                                                   11              Fourth, Defendant has already fully complied with the discovery request. Documents
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                                                                                   12 associated with the San Jose Police Department investigation, including relevant communications,
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                                                  Los Angeles, CA 90017




                                                                                   13 have already been produced in this matter. The San Jose Police Department fully investigated the

                                                                                   14 allegations, found the matter to be baseless and declined to file charges. Plaintiff already has

                                                                                   15 possession of all documents from the San Jose Police Department that are relevant in this case,

                                                                                   16 including the District Attorney’s refusal to prosecute the matter.

                                                                                   17              Fifth, the discovery request clearly relates to the San Jose Police Department, not authorities in

                                                                                   18 Australia, and due to the Fifth Amendment equivalent in Australia, no documents related to that

                                                                                   19 matter can or will be provided to anyone. New South Wales recognizes an absolute right against self-

                                                                                   20 incrimination4 and thus Defendant cannot be compelled to turn over documents regardless of the

                                                                                   21 existence of a protective order.

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                                                                                        As Justice Brennan once noted, “This danger is particularly great where ... the extrinsic activity
                                                                                   24 was not the subject of a conviction; the jury may feel that the defendant should be punished for
                                                                                      that activity even if he is not guilty of the offense charged.” Dowling v. United States, 493 U.S.
                                                                                   25
                                                                                      342, 361–62, 110 S.Ct. 668, 679, 107 L.Ed.2d 708 (1990) (Brennan, J., dissenting) (emphasis
                                                                                   26 added); see also 140 Cong. Rec. 15,209 (1994) (statement of Rep. Kyl) (stating that the new rules
                                                                                      will not apply to “allegations” but only to “prior offenses” where “an accused has been convicted
                                                                                   27 of similar conduct”).
                                                                                        4
                                                                                   28       See New South Wales Consolidated Evidence Act, Section 128.

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                                                                                    1              For the foregoing reasons, Plaintiff’s letter brief should be denied in its entirety.

                                                                                    2

                                                                                    3 DATED: May 23, 2019                          BAUTE CROCHETIERE HARTLEY & VELKEI LLP

                                                                                    4                                              By:          /s/ Bryan D. Roth
                                                                                                                                         MARK D. BAUTE
                                                                                    5
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                                                                                                                                         JARRYD HAYNE
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                                                                                            Case 5:18-cv-01397-LHK Document 42 Filed 05/24/19 Page 5 of 5



                                                                                    1                                      CERTIFICATION OF SERVICE
                                                                                    2              I, Bryan D. Roth, hereby certify that on this 23rd day of May, 2019, a copy of the

                                                                                    3 foregoing DEFENDANT JARRYD HAYNE’S RESPONSE TO PLAINTIFF J.V.’S

                                                                                    4 DISCOVERY LETTER BRIEF was served via E-mail, on the following:

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                                                                                   17                                                             /s/ Bryan D. Roth
                                                                                   18                                                       BRYAN ROTH

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